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                 EXHIBIT A
{03614133 / 1}
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Laurie Moreno

From:                                                         Stephanie Bedker
Sent:                                                         Thursday, December 14, 2023 11:03 AM
To:                                                           grant.saxena25@law.ac.uk
Cc:                                                           Laurie Moreno; Michael Edwards
Subject:                                                      Saxena v. Nye County / Claim No. 3044587 / 17773.103554 / Rule 26(f) Conference and
                                                              Scheduling Order
Attachments:                                                  Doc 50 - Order - Saxena - 2023.12.12.pdf


Mr. Saxena,

Pursuant to the Court’s latest order, we are once again reaching out to you to schedule a Rule 26(f) conference and to
complete a proposed discovery plan and scheduling order. Please let us know what day and time will work for you for
the required Rule 26(f) conference. Further, we renew our prior requests that you provide your personal phone number,
as required under the Local Rules, to enable the conference to occur. Once we agree on a date and time, my office staff
will circulate a calendar invite for the call.

Thank you,

Stephanie Bedker
Attorney at Law
Freeman Mathis & Gary, LLP
770 E Warm Springs Road | Suite 360 | Las Vegas, NV 89119
D: 725-258-7331 | C: 702-274-5571
Stephanie.Bedker@fmglaw.com | LinkedIn | Bio
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Please read this important notice and confidentiality statement




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